                              IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                         WESTERN DIVISION
                                  Civil Action No.: 5:17-cv- 00511-FL

                                                     )
EPIC GAMES, INC. and EPIC GAMES                      )
INTERNATIONAL S.a.r.l.,                              )
                                                     )
                    Plaintiffs,                      )
                                                     )          SECOND DECLARATION OF
v.                                                   )          CHRISTOPHER M. THOMAS
                                                     )
B.B.,                                                )
                                                     )
                    Defendant.                       )
                                                     )
____________________________ )

           Pursuant to 28 U.S.C. § 1746, Christopher M. Thomas hereby declares and states as

follows:

           1.       I am over 18 years of age, suffer from no known disability, and have personal

knowledge of the facts set forth herein.        All the statements in this declaration are true and

correct.

           2.       I am counsel for Plaintiff Epic Games, Inc. and Epic Games International S.a.r.l.

(collectively, "Plaintiffs" or "Epic") in the above-captioned case.

           3.       Epic is the developer and publisher of several computer games, including

Fortnite®, which is Epic's most successful game to date.

           4.       Epic is opposed to any cheating or similar unauthorized behavior in any of its

games.

           5.       Such conduct violates Epic's code of conduct for Fortnite, which specifically

states:



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                 Play fairly and within the rules of the game. Don't cheat, AFK,
                 grief, exploit bugs or glitches ...

A true and correct copy of the "F ortnite Battle Royale Code of Conduct" is attached hereto as

Exhibit A.

        6.       When Epic became aware of the efforts of certain individuals, including

Defendant, to cheat by altering Fortnite's copyrighted code, it put in place certain technological

security measures to effectively control and restrict access to Fortnite's copyrighted code in

order to protect Epic's copyrighted works.

        7.       The technological security measures put in place by Epic effectively control

access to the Fortnite code because the measures, in the ordinary course of operation, require the

application of information, or a process or a treatment, with the authority of Epic in order to gain

access to Fortnite's code.

        8.       B.B. 's cheat modification circumvented Epic's technological security measures as

set out under 17 U.S.C. § 1203(a)(3)(B) in that it avoided, bypassed, removed, deactivated and/or

impaired a technological measure without Epic's authority.

        I declare under penalty of pe1jury that the foregoing is true and correct.

        Executed on June 13th, 2018.


                                               Christopher M. Thomas




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                                CERTIFICATE OF SERVICE

        This is to certify that a copy of the foregoing SECOND DECLARATION OF

CHRISTOPHER M. THOMAS was electronically filed this day with the Clerk of Court using

the CM/ECF system and is available to B.B. c/o Christine Broom via PACER. Copies will be

served on both B.B. and Christine Broom as soon as we are properly able to serve them, at which

point undersigned counsel will file an amended certificate of service.



        This the 13th day of June, 2018.

                                             Is/ Christopher M. Thomas
                                             Christopher M. Thomas
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